                                                                                                                                 MO-2 (3/07)
                                       UNITED STATES
                 Case 4:24-cr-00001-Y Document       DISTRICT
                                                47 Filed      COURTPage 1 of 1 PageID 728
                                                         05/22/24
                                                   NORTHERN DISTRICT OF TEXAS
                                                        Fort Worth
                                                     _________________ DIVISION

                       Terry R. Means
HONORABLE___________________________________________,  Presiding
                       Michelle Moon
DEPUTY CLERK: ________________________________________                         Debbie Saenz
                                                         COURT REPORTER: ______________________________________
                       Adam Skrzecz
LAW CLERK ____________________________________________   USPO ___________________________________________________
INTERPRETER __________________________________________

UNITED STATES OF AMERICA                                                                        P. J. Meitl, Nancy Larson
                                                             4:24-CR-001-Y
                                                 CR. No. _________________________( 1 ) _________________________________       AUSA
v.                                                                                      _____________________________ Case Agent
                                                                    §
                                                                    §
                                                                    §
                                                                    §
JOHN ANTHONY CASTRO
________________________________                                    §                   Franklyn Mickelsen, (R), Jason B. Freeman (R)
                                                                                       _______________________________________
Defendant(s) Name and Number(s)                                                        Counsel for Deft(s) Appt-(A), Retd-(R), FPD-(F)

                                                 3rd     DAY OF     JURY       BENCH TRIAL
               5-22-24
Date Held: ________________
Time in Court: 5____________
                    hrs. 21 m.
Trial as to Counts: 1 through 33 of indictment

Trial Status:        Completed by Jury Verdict     Continued from Previous Month      Directed Verdict    Evidence Entered
                     Hung Jury    Jury Selection Only, continued   Jury Selection or Verdict Only (No Trial Before this Judge)
                     Mistrial  Settled/Guilty Plea

                3
Days in Trial: ____________                                                                        ),/('
Hearing Concluded:  Yes    No                                                                     May 22, 2024
     Deft.__________________ failed to appear, bench warrant to issue.                                 .$5(10,7&+(//
     Pretrial Conference held prior to trial.                                                        &/(5.86',675,&7
     Voir dire begins.              Bench trial begins.           Waiver of Jury Trial.
                                                                                                            &2857
     Jury impaneled.      Jury selected        Jury sworn
     Jury trial held.                       . . . . . . Bench trial held.
     Govt       Deft evidence presented.
     Deft ___________________
          Rule 29                                    judgment of acquittal
                                     motion for ______________________             granted    denied  moot.
     Govt motion for ___________________________                   granted    denied.
     Deft ________________ motion ________________________ taken under advisement.
     Deft ________________ motion _______________________ granted                        denied.
     Evidence concluded.
     Final arguments.      . . . .Court deliberating.
     Court's charge to the jury.
     Jury deliberating.    . . . .Jury questions filed.
     Jury verdict Rendered (See Verdict Form).
     Court verdict Rendered (See Verdict Form).
     Jury trial ends.
     Order for PSI, Disclosure and Sentencing dates entered.
     Sentencing set for _______________ at ____________ .
     Bond     continued       revoked
     Deft bond set to $ ___________       Cash     Surety    10%     PR.
     Defendant Custody/Detention continued.
     Defendant REMANDED to custody.

     STATUS OF EXHIBITS: In possession of the parties.
OTHER PROCEEDINGS:


Adjourned until. 9:30 a.m., May 23, 2024
